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 8                       UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10                                   SAN DIEGO DIVISION
11 STRIKE 3 HOLDINGS, LLC,                         Case Number: '19CV2488 LAB AHG
12                      Plaintiff,                 COMPLAINT FOR COPYRIGHT
                                                   INFRINGEMENT - DEMAND FOR
13 vs.                                             JURY TRIAL
14 JOHN DOE subscriber assigned IP
     address 76.88.49.186,
15
                        Defendant.
16

17

18         Plaintiff, Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”), brings this
19 complaint against Defendant, John Doe subscriber assigned IP address

20 76.88.49.186, and alleges as follows:

21                                       Introduction
22         1.    This is a case about the ongoing and wholesale copyright
23 infringement of Plaintiff’s motion pictures by Defendant, currently known only by

24 an IP address.

25         2.    Plaintiff is the owner of award winning, critically acclaimed adult
26 motion pictures.

27         3.    Strike 3’s motion pictures are distributed through the Blacked, Tushy,
28 Vixen, and Blacked Raw adult websites and DVDs. With millions of unique
                                               1

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 1 visitors to its websites each month, the brands are famous for redefining adult

 2 content, creating high-end, artistic, and performer-inspiring motion pictures

 3 produced with a Hollywood style budget and quality.

 4          4.   Defendant is, in a word, stealing these works on a grand scale. Using
 5 the BitTorrent protocol, Defendant is committing rampant and wholesale

 6 copyright infringement by downloading Strike 3’s motion pictures as well as

 7 distributing them to others. Defendant did not infringe just one or two of Strike

 8 3’s motion pictures, but has been recorded infringing 72 movies over an extended

 9 period of time.

10          5.   Although Defendant attempted to hide this theft by infringing
11 Plaintiff’s content anonymously, Defendant’s Internet Service Provider (“ISP”),

12 Spectrum, can identify Defendant through his or her IP address 76.88.49.186.

13          6.   In an effort to conserve Federal judicial resources, Strike 3 originally
14 moved to discover Defendant’s identity utilizing a state court procedure in Florida

15 where Strike 3’s infringement detection servers are located. Defendant objected

16 asserting that the action is more properly litigated in the federal court of his or her

17 domicile. Because Plaintiff is amenable to litigating the matter in either forum,

18 this suit was initiated

19          7.   This is a civil action seeking damages under the United States
20 Copyright Act of 1976, as amended, 17 U.S.C. §§ 101 et seq. (the “Copyright

21 Act”).

22                                Jurisdiction and Venue
23          8.   This Court has subject matter jurisdiction over this action pursuant to
24 28 U.S.C. § 1331 (federal question); and 28 U.S.C. § 1338 (jurisdiction over

25 copyright actions).

26          9.   This Court has personal jurisdiction over Defendant because
27 Defendant used an Internet Protocol address (“IP address”) traced to a physical

28 address located within this District to commit copyright infringement. Therefore:
                                               2

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 1 (i) Defendant committed the tortious conduct alleged in this Complaint in this

 2 State; and, (ii) Defendant resides in this State and/or; (iii) Defendant has engaged

 3 in substantial – and not isolated – business activity in this State.

 4         10.   Plaintiff used IP address geolocation technology by Maxmind Inc.
 5 (“Maxmind”), an industry-leading provider of IP address intelligence and online

 6 fraud detection tools, to determine that Defendant’s IP address traced to a physical

 7 address in this District. Over 5,000 companies, along with United States federal

 8 and state law enforcement, use Maxmind’s GeoIP data to locate Internet visitors,

 9 perform analytics, enforce digital rights, and efficiently route Internet traffic.

10         11.   In order to ensure that Defendant’s IP address accurately traced to
11 this District, Plaintiff inputted Defendant’s IP address into Maxmind’s GeoIP

12 database twice: first when it learned of the infringement and again, just prior to

13 filing this lawsuit.

14         12.   Pursuant to 28 U.S.C. § 1391(b) and (c), venue is proper in this
15 district because: (i) a substantial part of the events or omissions giving rise to the

16 claims occurred in this District; and, (ii) the Defendant resides (and therefore can

17 be found) in this District and resides in this State. Additionally, venue is proper in

18 this District pursuant 28 U.S.C. § 1400(a) (venue for copyright cases) because

19 Defendant or Defendant’s agent resides or may be found in this District.

20                                          Parties
21         13.   Strike 3 is a Delaware limited liability company located at 2140 S.
22 Dupont Hwy, Camden, DE.

23         14.   Plaintiff currently can only identify Defendant by his or her IP
24 address. Defendant’s IP address is 76.88.49.186. Defendant’s name and address

25 can be provided by Defendant’s Internet Service Provider.

26                                  Factual Background
27                        Plaintiff’s Award-Winning Copyrights
28         15.   Strike 3’s subscription based websites proudly boast a paid
                                               3

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 1 subscriber base that is one of the highest of any adult-content sites in the world.

 2 Strike 3 also licenses its motion pictures to popular broadcasters and Strike 3’s

 3 motion pictures are the number one selling adult DVDs in the United States.

 4          16.    Strike 3’s motion pictures and websites have won numerous awards,
 5 such as “best cinematography,” “best new studio,” and “adult site of the year.”

 6          17.    Strike 3’s motion pictures have had positive global impact, leading
 7 more adult studios to invest in better content, higher pay for performers, and to

 8 treat each performer with respect and like an artist.

 9          18.    Unfortunately, Strike 3, like a large number of other makers of
10 motion picture and television works, has a major problem with Internet piracy.

11 Often appearing among the most infringed popular entertainment content on

12 torrent websites, Strike 3’s motion pictures are among the most pirated content in

13 the world.

14                Defendant Used the BitTorrent File Distribution Network
15                             to Infringe Plaintiff’s Copyrights
16          19.    BitTorrent is a system designed to quickly distribute large files over
17 the Internet. Instead of downloading a file, such as a movie, from a single source,

18 BitTorrent users are able to connect to the computers of other BitTorrent users in

19 order to simultaneously download and upload pieces of the file from and to other

20 users.

21          20.    To use BitTorrent to download a movie, the user has to obtain a
22 “torrent” file for that movie, from a torrent website. The torrent file contains

23 instructions for identifying the Internet addresses of other BitTorrent users who

24 have the movie, and for downloading the movie from those users. Once a user

25 downloads all of the pieces of that movie from the other BitTorrent users, the

26 movie is automatically reassembled into its original form, ready for playing.

27          21.    BitTorrent’s popularity stems from the ability of users to directly
28 interact with each other to distribute a large file without creating a heavy load on
                                                4

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 1 any individual source computer and/or network. It enables Plaintiff’s motion

 2 pictures, which are often filmed in state of the art 4kHD, to be transferred quickly

 3 and efficiently. Moreover, BitTorrent is designed so that the more files a user

 4 offers for download to others, the faster the user’s own downloads become. In

 5 this way, each user benefits from illegally distributing other’s content and

 6 violating copyright laws.

 7        22.    Each piece of a BitTorrent file is assigned a unique cryptographic
 8 hash value.

 9        23.    The cryptographic hash value of the piece (“piece hash”) acts as that
10 piece’s unique digital fingerprint. Every digital file has one single possible

11 cryptographic hash value correlating to it. The BitTorrent protocol utilizes

12 cryptographic hash values to ensure each piece is properly routed amongst

13 BitTorrent users as they engage in file sharing.

14        24.    The entirety of the digital media file also has a unique cryptographic
15 hash value (“file hash”), which acts as a digital fingerprint identifying the digital

16 media file (e.g. a movie). Once infringers complete the downloading of all pieces

17 which comprise a digital media file, the BitTorrent software uses the file hash to

18 determine that the file is complete and accurate.

19        25.    Defendant used the BitTorrent file network to illegally download and
20 distribute Plaintiff’s copyrighted motion pictures.

21        26.    Plaintiff has developed, owns and operates an infringement detection
22 system.

23        27.    Plaintiff’s infringement detection system established direct TCP/IP
24 connections with the Defendant’s IP address, as outlined on Exhibit A, while

25 Defendant was using the BitTorrent file distribution network.

26        28.    While Defendant was infringing, Plaintiff’s infringement detection
27 system downloaded from Defendant one or more pieces of the digital media files

28 containing Strike 3’s motion pictures listed on Exhibit A (“Works”), as identified
                                              5

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 1 by the hash value associated with the metadata to the torrent file correlating to the

 2 Works.

 3         29.   A full copy of each digital media file was downloaded from the
 4 BitTorrent file distribution network, and it was confirmed through independent

 5 calculation that the file hash correlating to each file matched the file hash

 6 associated with Plaintiff’s copyrighted movie downloaded by Defendant.

 7         30.   Defendant downloaded, copied, and distributed Plaintiff’s Works
 8 without authorization.

 9         31.   At no point did Plaintiff’s infringement detection system upload
10 content to any BitTorrent user.

11         32.   The digital media files have been verified to contain a digital copy of
12 a motion picture that is identical (or alternatively, strikingly similar or

13 substantially similar) to Plaintiff’s corresponding original copyrighted Works.

14         33.   Defendant’s infringement was continuous and ongoing. Absent this
15 lawsuit, Plaintiff knows of no way to effectively prevent Defendant from

16 infringing Plaintiff’s motion pictures.

17         34.   Plaintiff owns the copyrights to the Works and the Works have been
18 registered with the United States Copyright Office.

19         35.   The United States Copyright Office registration information for the
20 Works, including the registration number, is outlined on Exhibit A.

21         36.   Plaintiff is entitled to seek statutory damages and attorneys’ fees
22 under 17 U.S.C. § 501 of the United States Copyright Act.

23                                         COUNT I
24                              Direct Copyright Infringement
25         37.   The allegations contained in paragraphs 1-36 are hereby re-alleged as
26 if fully set forth herein.

27         38.   Plaintiff is the owner of the Works, which is an original work of
28 authorship.
                                                6

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 1        39.    Defendant copied and distributed the constituent elements of
 2 Plaintiff’s Works using the BitTorrent protocol.

 3        40.    At no point in time did Plaintiff authorize, permit or consent to
 4 Defendant’s copying, distribution, performance and/or display of its Works,

 5 expressly or otherwise.

 6        41.    As a result of the foregoing, Defendant violated Plaintiff’s exclusive
 7 right to:

 8        (A)    Reproduce its Works in copies, in violation of 17 U.S.C. §§ 106(1)
 9 and 501;

10        (B)    Distribute copies of the Works to the public by sale or other transfer
11 of ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§ 106(3)

12 and 501;

13        (C)    Perform the copyrighted Works, in violation of 17 U.S.C. §§ 106(4)
14 and 501, by showing the Works’ images in any sequence and/or by making the

15 sounds accompanying the Works’ audible and transmitting said performance of

16 the work, by means of a device or process, to members of the public capable of

17 receiving the display (as set forth in 17 U.S.C. § 101’s definitions of “perform”

18 and “publically” perform); and

19        (D)    Display the copyrighted Works, in violation of 17 U.S.C. §§ 106(5)
20 and 501, by showing individual images of the works non-sequentially and

21 transmitting said display of the works by means of a device or process to members

22 of the public capable of receiving the display (as set forth in 17 U.S.C. § 101’s

23 definition of “publicly” display).

24        42.    Defendant’s infringements were committed “willfully” within the
25 meaning of 17 U.S.C. § 504(c)(2).

26        WHEREFORE, Plaintiff respectfully requests that the Court:
27        (A)    Permanently enjoin Defendant from continuing to infringe Plaintiff’s
28 copyrighted Works;
                                              7

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 1        (B)   Order that Defendant delete and permanently remove the digital
 2 media files relating to Plaintiff’s Works from each of the computers under

 3 Defendant’s possession, custody or control;

 4        (C)   Order that Defendant delete and permanently remove the infringing
 5 copies of the Works Defendant has on computers under Defendant’s possession,

 6 custody or control;

 7        (D)   Award Plaintiff statutory damages per infringed work pursuant to 17
 8 U.S.C. § 504(a) and (c);

 9        (E)   Award Plaintiff its reasonable attorneys’ fees and costs pursuant to
10 17 U.S.C. § 505; and

11        (F)   Grant Plaintiff any other and further relief this Court deems just and
12 proper.

13                          DEMAND FOR A JURY TRIAL
14        Plaintiff hereby demands a trial by jury on all issues so triable.
15        DATED this 27th day of December, 2019.
16                                          Law Offices of Lincoln Bandlow, P.C.
17                                          s/ Lincoln D. Bandlow
                                            Lincoln D. Bandlow, Esq.
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